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     EARSHELL HAYES
 6
 7                                   UNITED STATES DISTRICT COURT

 8                               EASTERN DISTRICT OF CALIFORNIA

 9
10   UNITED STATES OF AMERICA,                             No. 2:15-CR-00118-MCE

11                      Plaintiff,                         STIPULATION AND ORDER TO
                                                           CONTINUE STATUS CONFERENCE,
12          v.                                             AND TO EXCLUDE TIME PURSUANT TO
                                                           THE SPEEDY TRIAL ACT
13   MICHAEL MATHEWS, et al,

14                      Defendant.

15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their

17   respective counsel, Paul Hemesath, Assistant United States Attorney, attorney for

18   plaintiff; Mark Reichel,        attorney for defendant Michael Mathews; Gregory Foster

19   attorney for defendant David Dixon; Philip Cozens attorney for defendant Leon Fields,

20   Jr. and Michael E. Hansen, attorney for defendant Earshell Hayes, that the previously-

21   scheduled status conference date of July 16, 2015, be vacated and the matter set for

22   status conference on September 17, 2015, at 9:00 a.m.

23          This continuance is requested because defense counsel needs additional time to

24   review discovery received in this case. All counsel were retained or appointed within the

25   last 60 days.

26          The Government concurs with this request.

27          Further, the parties agree and stipulate the ends of justice served by the granting

28   of such a continuance outweigh the best interests of the public and the defendants in a
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     Stipulation and Order to Continue Status Conference
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 1   speedy trial and that time within which the trial of this case must be commenced under
 2   the Speedy Trial Act should therefore be excluded under 18 U.S.C. section
 3   3161(h)(7)(B)(iv), corresponding to Local Code T4 (to allow defense counsel time to
 4   prepare), from the date of the parties’ stipulation, July 16, 2015, to and including
 5   September 17, 2015.
 6          Accordingly, the parties respectfully request the Court adopt this proposed
 7   stipulation.
 8          IT IS SO STIPULATED.
 9   Dated: July 14, 2015                                  Respectfully submitted,
10                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
11                                                         Attorney for Defendant
                                                           EARSHELL HAYES
12
                                                           By: /s/ Michael E. Hansen for
13                                                         GREGORY FOSTER
                                                           Attorney for Defendant
14                                                         DAVID DIXON
15                                                         By: /s/ Michael E. Hansen for
                                                           MARK REICHEL
16                                                         Attorney for Defendant
                                                           MICHAEL MATHEWS
17
                                                           By: /s/ Michael E. Hansen for
18                                                         PHILIP COZENS
                                                           Attorney for Defendant
19                                                         LEON FIELDS, JR.
20   Dated: July 14, 2015                                  BENJAMIN B. WAGNER
                                                           United States Attorney
21
                                                           By: /s/ Michael E. Hansen for
22                                                         PAUL HEMESATH
                                                           Assistant U.S. Attorney
23                                                         Attorney for Plaintiff
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     Stipulation and Order to Continue Status Conference
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 1                                                 ORDER
 2          The Court, having received, read, and considered the stipulation of the parties,
 3   and good cause appearing therefrom, adopts the stipulation of the parties in its entirety
 4   as its order. Based on the stipulation of the parties and the recitation of facts contained
 5   therein, the Court finds that it is unreasonable to expect adequate preparation for pretrial
 6   proceedings and trial itself within the time limits established in 18 U.S.C. section 3161.
 7   In addition, the Court specifically finds that the failure to grant a continuance in this case
 8   would deny defense counsel to this stipulation reasonable time necessary for effective
 9   preparation, taking into account the exercise of due diligence. The Court finds that the
10   ends of justice to be served by granting the requested continuance outweigh the best
11   interests of the public and the defendants in a speedy trial.
12          The Court orders that the time from the date of the parties’ stipulation, July 16,
13   2015, to and including September 17, 2015, shall be excluded from computation of time
14   within which the trial of this case must be commenced under the Speedy Trial Act,
15   pursuant to 18 U.S.C. section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for
16   defense counsel to prepare).          It is further ordered that the July 16, 2015, status
17   conference shall be continued until September 17, 2015, at 9:00 a.m.
18          IT IS SO ORDERED.
19   Dated: July 17, 2015
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     Stipulation and Order to Continue Status Conference
